OAO 247 (NC/W 11/11) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Western District of North Carolina
                   United States of America
                              v.                                      )
                                                                      ) Case No:     DNCW 598CR000125-005
                 BARRY FITZGERALD DERR
                                                                      ) USM No:      13613-058
Date of Original Judgment:                January 19, 1999            )
Date of Last Amended                                                  )
Judgment:                                 April 28, 2010              ) Ross Richardson
                                                                         Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 188 months       is reduced to Time served, plus 10 days
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    35             Amended Offense Level:     31
Criminal History Category: IV             Criminal History Category: IV
Original Guideline Range:  235-293 months Amended Guideline Range: 151-188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to
release from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to
the local Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of
the U.S. Probation Officer.
Except as provided above, all provisions of the judgment dated January 19, 1999                    shall remain in effect.
IT IS SO ORDERED.

Order Date:        December 29, 2011


Effective Date: December 29, 2011
                     (if different from order date)
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